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AO 91 (Rev. 08/09) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Southern District of Florida

United States of America )
V. )
) Case No. 20-mj-6578-AOV
ERNEST THOMPSON, )
)
)
Defendant(s) '
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 23-24, 2020, in the county of Broward in the
Southern District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1951(a) Hobbs Act robbery
18 U.S.C. § 924(c)(1)(A)(ii) Brandish a Firearm During a Crime of Violence

18 U.S.C. §§ 922(g)(1), 924(e)(1) Possession of a Firearm by a Convicted Felon

This criminal complaint is based on these facts:
See attached Affidavit.

@ Continued on the attached sheet.

   
 
    

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lichATF Special Agent

Printed name and title

Sworn to before me and signed in my presence in accordance to
the requirements of Fed. R. Crim. P. 4.1 by _FaceTime

Date: November 6, 2020 Se We Veco

Judge's signature

City and state: Fort Lauderdale, Florida Alicia O. Valle, United) States Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Your affiant, Justin Herzlich, being duly sworn, deposes and states:

: I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”) and have been so employed since approximately 2007. Some of my
responsibilities include investigating violations of federal law, including the Gun Control Act. I
am an investigative or law enforcement officer of the United States within the meaning of Title
18, United States Code, Section 2510(7), in that Iam empowered by law to conduct investigations
of, and make arrests for, offenses enumerated in Title 18 of the United States Code.

a This affidavit is being submitted in support of a criminal complaint which charges
Ernest Thompson with violations of Title 18, United States Code, Sections 1951(a) (Hobbs Act
robbery); 924(c)(1)(A)(ii) (brandishing a firearm during a crime of violence); and 922(g)(1) and
924(e)(1) (possession of a firearm by a convicted felon).

33 I submit this Affidavit based on information known to me personally from the
investigation, as well as information obtained from others who have investigated the matter or
have personal knowledge of the facts herein. Because this Affidavit is being submitted for the
limited purpose of establishing probable cause for the requested warrant, it does not include every
fact known to me about this matter.

PROBABLE CAUSE

4. On or about October 23, 2020, at approximately 9:35 PM, a black male — believed
to be Ernest Thompson — entered the Walgreen Liquor Store, located at 2355 N. Federal Highway,
Fort Lauderdale, Florida. At the time of his entry, Thompson wore a black mask, a black t-shirt,
black shorts, and a black cap with a gold brim and reflective sticker. After entering the store,

Thompson implied that he had a firearm by holding his left hand in his waistband. He then directed
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the cashier to open the door that restricts access to the area behind the register counter by stating,
“Open the door or I’ll shoot.” Thompson then directed the cashier to open the register. After the
cashier complied, Thompson stole approximately four hundred dollars ($400.00) before departing
the store. The Fort Lauderdale Police Department (FLPD) Crime Scene Unit subsequently
responded and processed the scene for latent prints, including the register drawer and plastic door
that Thompson touched with his bare hands during the robbery.

5, On or about October 24, 2020, at approximately 6:56 AM, a black male — believed
to be Thompson — entered the Chevron gas station located at 3990 W. Oakland Park Blvd,
Lauderdale Lakes, Florida. At the time, Thompson wore a black mask, a black t-shirt, black shorts,
black shoes, sunglasses, and a black cap with a gold brim and reflective sticker — similar to the
attire worn during the Walgreen Liquor Store robbery (see Paragraph 4). After entering the gas
station, Thompson grabbed a drink from the cooler before approaching the front counter. Upon
reaching the counter, Thompson pulled out a black revolver from the left side of his waistband
with his left hand and demanded the money from the register. The clerk, who was behind bullet-
resistant glass, ducked behind the counter and hit the panic button. This prompted Thompson to
flee from the store in a newer-model white Ford Ranger pickup truck (unknown tag).

6. On or about October 24, 2020, at approximately 7:01 AM, a black male — believed
to be Thompson- entered the Race Trac gas station, located at 3290 W. Oakland Park Blvd,
Lauderdale Lakes, Florida wearing a black t-shirt, black shorts, and a black cap with a gold brim
and reflective sticker. Thompson approached the counter and asked the clerk for two packs of
Newport cigarettes. While the clerk was retrieving the cigarettes, Thompson produced a black
revolver from the left side of his waistband with his left hand. He then demanded pis money from

the till. After stealing two hundred and ninety seven dollars ($297.00), Thompson fled from the
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gas station and entered a white Ford Ranger pickup truck, identical to the one used after the
attempted robbery of the Chevron gas station earlier that day (see Paragraph 5).

he On October 24, 2020, at approximately 12:33 PM, a black male — believed to be
Thompson — entered the Subway restaurant located at 2863 W. Sunrise Boulevard, Fort
Lauderdale, Florida. At the time, Thompson wore a black mask, a red Nike t-shirt, black shorts,
and a black cap with a gold brim and reflective sticker. Thompson waited in line and ordered a
sandwich. Upon approaching the register, Thompson pulled out a black revolver with his left hand
from the left side of his waistband. He then demanded the money from the register. Thompson
stole approximately one hundred and seventy-three dollars ($173.00) and the sandwich before
fleeing from the store.

8. On or about October 24, 2020, at approximately 5:29 PM, a black male — believed
to be Thompson — exited a white Ford Ranger pickup truck from the front passenger seat before
entering the Walgreens, located at 3099 N. SR 7, Lauderdale Lakes, Florida. At the time,
Thompson wore a black mask, a black t-shirt, black shorts, and a black cap with gold brim and
reflective sticker. While inside, Thompson picked up two bags of candy and a can of soda before
standing in line for approximately six minutes. Upon reaching the counter, Thompson directed the
cashier to retrieve Newport cigarettes for him. While the cashier was retrieving the packs of
cigarettes, Thompson pulled out a black revolver from the left side of his waistband with his left
hand and pointed it at the cashier. Thompson then stole approximately four hundred dollars
($400.00) from the register. He then exited the store, entered the front passenger seat of a white
Ford Ranger pickup truck, and fled.

9. On or about October 24, 2020, at approximately 11:41 PM, a black male — believed

to be Thompson — exited the front passenger seat of a white Ford Ranger pickup and entered a 7-
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Eleven, located at 1981 S, SR 7, Fort Lauderdale, Florida. At the time, Thompson wore sunglasses,
a black mask, a black t-shirt, black shorts, black sneakers, and a black cap with gold brim and
reflective stickers. Thompson grabbed two drinks from the cooler and approached the front counter
before asking the clerk for a pack of Newport cigarettes. As soon as the clerk turned around to
retrieve the cigarettes, Thompson produced a black revolver from the left side of his waistband
with his left hand and pointed it at the clerk. Thompson then directed the clerk to give him the
money from the register. While looking at the suspect, the clerk noticed that there were no bullets
in the cylinder of the revolver. The clerk subsequently locked the suspect inside the store, armed
himself with a large knife, and told Thompson that he (the clerk) was calling the police. Thompson
continued to point the revolver at the clerk before kicking the front door open. Thompson then
walked over to the white Ford Ranger waiting for him and entered the front passenger side of the
vehicle. Before the vehicle departed from the scene, the clerk ran up to the truck and struck the
vehicle with his knife.

10. While responding to the scene, law enforcement learned from a witness of the 7-
Eleven robbery described in paragraph 9 that the characters “S38” appeared on the getaway
vehicle’s tag. Law enforcement ultimately determined that the full tag was “BPH-S38” based on
tips that law enforcement had received when it issued a BOLO (Be on the Lookout) earlier that
day in response to the Walgreen Liquor Store robbery (see Paragraph 4). Within approximately
five minutes after dispatch advised officers of the full tag number, FLPD officers located the white
Ford Ranger and initiated a traffic stop at 3105 NW 2nd Street, Lauderhill, Florida. At the time of
the traffic stop, there were two black males in the vehicle: S.H. was the driver and Thompson was
in the front passenger seat. Thompson was wearing a black t-shirt and black shorts. In plain view

on the passenger side of the dashboard was a black Miami Heat cap with a gold brim and reflective
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sticker. Law enforcement conducted a show-up of both Thompson and Henry to the 7-Eleven clerk
(see Paragraph 9). The clerk positively identified Thompson and Henry. Law enforcement took
Thompson into custody. During a post-Miranda interview, Thompson stated that he had been with
Henry for the past two to three days and both were on a crack cocaine binge. When law
enforcement showed still photographs of the robber from the incidents identified in paragraphs 4
through 9 to Thompson, he denied they were of himself.

11. | The Broward Sheriff's Office (BSO) Crime Scene Unit responded to the scene of
the traffic stop (see Paragraph 10) and photographed the vehicle. Prior to having the vehicle towed,
BSO deputies inventoried it. During the inventory search, the deputies found an Arminius Arms
45 caliber revolver, black in color, bearing serial number P8719, underneath the front passenger
seat where Thompson had been sitting. Law enforcement seized on scene for safety.

te, On or about October 26, 2020, law enforcement executed a state search warrant on
the white Ford Ranger. During the search, law enforcement recovered a pair of sunglasses, a black
Miami Heat cap with gold brim and reflective sticker, and an Avis rental agreement in the name
of Sam Henry. Law enforcement also observed damage to the frame of the white Ford Ranger

consistent with the 7-Eleven clerk’s knife striking it (see below):

 

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13. FLPD received a latent prints match from the October 23, 2020, armed robbery of
the Walgreen Liquor Store (see Paragraph 4). The latent prints from the plastic divider matched a
known sample taken from Thompson.

14. Each of the businesses identified in paragraphs 4 through 9 engaged in business
activities that affected interstate commerce, including the purchase and sale of goods that have
moved in interstate commerce. Due to the robberies and attempted robberies identified in
paragraph 4 through 9, including the threats made to the store employees, the named businesses
were unable to engage in the normal course of business and the criminal conduct in question
obstructed, delayed, interrupted, and affected interstate commerce.

15. Prior to his arrest on October 24, 2020, Thompson had previously been convicted
of an offense punishable by imprisonment for a term exceeding one year, that is, a felony. For
example, in 1999, Thompson received a sentence of thirty-three (33) months’ imprisonment for
possession/sell/deliver cocaine within 200 feet of a park; thus, at the time of his possession, he
knew that he was a convicted felon. Thompson has not had his civil rights restored nor had he
received a pardon for any of his prior felony convictions.

16. Based on your affiant’s training and experience, the Arminius Arms .45 caliber
revolver seized during this investigation was manufactured outside the State of Florida and thus,

must have traveled in and affected interstate commerce prior to Thompson’s possession of it.

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CONCLUSION
17. Based on the aforementioned facts, I respectfully submit that there is probable cause
to support the arrest of ERNEST THOMPSON for committing violations of Title 18, United
States Code, Sections 1951(a) (Hobbs Act robbery); 924(c)(1)(A)(ii) (brandishing a firearm during
a crime of violence); and 922(g)(1) and 924(e)(1) (possession of a firearm by a convicted felon)

between October 23, 2020, and October 24, 2020.

FURTHER YOUR AFFIANT SAYETH NAUGHT.

 

JUSTINAMERZLIGHASPEGIAL AGENT
BUREAYV' OF ALCOHOL ee FIREARMS, AND EXPLOSIVES

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by FACTIME __onthis 6th day of November __, 2020.

PP ae :

ALICIA O. VALLE
UNITED STATES MAGISTRATE JUDGE

 
